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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CRIMINAL NO. 22-cr-200
               v.                              :
                                               :
PETER K. NAVARRO,                              :
                                               :
                       Defendant.              :

     UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTION TO COMPEL

       In his Motion to Compel Discovery, the Defendant, Peter K. Navarro, suggests that the

Government is holding back on its discovery obligations because there has been “minimal

discovery . . . produced by the Government to date.” ECF No. 31 at 1. The Defendant’s suggestion

is incorrect. The Government has exceeded its discovery obligations and already provided the

Defendant all discoverable material in its possession, custody, or control. While the volume of

discovery might be small, its volume is not a reflection of its thoroughness. Instead, it reflects the

straightforward nature of this case—the Defendant received a subpoena, ignored the subpoena’s

document demand, and refused to appear for testimony despite the admonition that he must.

Having received all the information to which he is entitled under the rules and controlling law, the

Defendant’s motion seeks discovery on defenses that are unavailable to him under the law,

attempts to force the Government to go fishing for irrelevant information in far-flung government

files by erroneously expanding the prosecution team, and demands discovery on collateral and

grand jury matters without making the threshold showing that he is entitled to such information.

The Defendant’s motion should be denied.
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I.     Background

       On February 9, 2022, the House Select Committee to Investigate the January 6th Attack on

the United States Capitol (“the Committee”), after the Defendant confirmed he would accept it,

issued a subpoena to the Defendant for documents, due February 23, 2022, and for a deposition on

March 2, 2022. See Indictment, ECF No. 1, ¶ 7-9. On February 23, the Defendant defaulted on

the subpoena’s document requirement. By that date, he had not produced a single record, had not

provided the Committee with a log of records withheld because of a privilege, and had not

communicated with the Committee in any way since receiving the subpoena. Id. ¶ 15. The day

after the Defendant’s complete default on the subpoena’s document demands, Committee staff

emailed the Defendant reminding him that he had been required to produce records and that he

was still required to appear for a deposition on March 2. Id. ¶ 16. Several days later, the Defendant

responded by email and claimed that the former President had “invoked Executive Privilege in this

matter.” Id. Thereafter, Committee staff repeatedly rejected the Defendant’s claims regarding

executive privilege and instructed him that he was required to appear before the Committee and

assert any privileges and objections in person, on a question-by-question basis. Id. ¶¶ 18-20. On

March 2, the Defendant did not appear for a deposition as required. Id. ¶ 21.

       On June 2, 2022, a federal grand jury in the District of Columbia returned an indictment

charging the Defendant with two counts of contempt of Congress, in violation of 2 U.S.C. § 192,

for refusing to comply in any way with the Committee’s subpoena.

II.    The Government Has Exceeded its Discovery Obligations.

       Beginning on June 14, 2022—the day after this Court entered a protective order governing

discovery —the Government has provided the Defendant with discovery that has met and exceeded

its obligations. This includes all testimony and exhibits presented to the grand jury in the




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investigation leading to the pending charges; reports of all witness interviews conducted during

the Government’s investigation, regardless of whether the witness will be called at trial; all records

that the Committee voluntarily produced to the Government during the investigation; all records

that the White House Counsel’s Office voluntarily produced to the Government during the

investigation; and all records obtained pursuant to grand jury subpoenas and a court order issued

pursuant to 18 U.S.C. § 2703(d). See Ex. 1 (discovery index). The Government has produced all

discoverable material of which, to date, it is aware or that is in its possession, custody, or control,

as well as material for which no discovery obligation exists.

            Accordingly, as the Government informed the Defendant in its correspondence, see Exs.

5, 7, & 9, Def.’s Mot. to Compel, ECF Nos. 31-3, 31-5, 31-7, the Government has provided all

discoverable material in its possession responsive to his specific requests and has even provided

information in response to his prior requests and the requests he makes again in his motion to

which the law does not entitle him, such as the statements of witnesses who may never be called

at trial.

            The Defendant nevertheless moves for the production of information about which the

Government already has provided any responsive information in its possession. For example, the

Defendant seeks discovery “that would tend to demonstrate . . . the [Select] Committee was

improperly constituted and issued its subpoena in violation of House Rules and Resolutions, and

because the subpoena was invalid on its face.” ECF No. 31 at 21-25. The Government has

disclosed all the information it possesses about the Committee’s authority to issue the Defendant’s

subpoena. And, in any event, the objections to the Committee’s authority that the Defendant hopes

to raise, and for which he seeks additional discovery, appear to all be claims that the Committee

did not follow its operational rules. But he has waived these claims and thus cannot present them




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at trial because they all were either known or available to him at the time he defaulted but he did

not raise them before the Committee as a basis for noncompliance. 1 See McPhaul v. United States,

364 U.S. 372, 378-79 (1960) (finding defendant waived objection to compliance based on fact he

did not have records where he did not raise it before the relevant committee); United States v.

Bryan, 339 U.S. 323, 330-334 (1950) (finding defendant waived objection regarding a “defect in

composition” of the issuing committee—lack of quorum—because she raised it for the first time

at her contempt trial); Liveright v. United States, 347 F.2d 473, 475-76 (D.C. Cir. 1965) (describing

the “Bryan-McPhaul rule” for waiver of objections where the basis for the objection was apparent

at the time of default); July 11, 2022, Hearing Transcript, United States v. Bannon, Case No. 21-

cr-670-CJN, at 126-30 (D.D.C.) (excluding as a defense at trial claims that the Select Committee

did not comply with its rules where the Defendant was on notice of the rules but did not raise them

at the time of his default). In addition to having waived the objections, the Defendant’s supposed

objections are based on interpretations of the Select Committee’s rules that are contrary to the

House’s interpretation and thus cannot be presented to the jury on that basis as well. See Barker

v. Conroy, 921 F.3d 1118, 1130 (D.C. Cir. 2019) (“Accordingly, we accept the House’s

interpretation of its own rules . . . , thus eliminating any risk of running afoul of either the

Rulemaking Clause or separation-of-powers principles.”); July 11, 2022, Hearing Transcript,

Bannon, at 130-32 (finding objections to the Select Committee’s composition and ranking minority

member were not appropriate questions for the jury because the House Committee had articulated



       1
          Claims that the Committee did not follow its operational rules are defenses that, where
not waived, must be proven at trial by the Defendant. They are not elements of the offense that
the Government must prove. See, e.g., Yellin v. United States, 374 U.S. 109, 123 (1963) (finding
an alleged rules violation could be a defense to contempt of Congress “were [the defendant] able
to prove his defense”); Liveright, 347 F.2d at 474-75, 475 n.5 (noting that treating rules violation
as a potential defense was consistent with Supreme Court precedent that rules compliance is not
essential to the offense but potentially valid defenses).


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its reading of the relevant rules and the Defendant’s proffered claims were contrary to that reading).

These issues being unavailable to the Defendant as defenses at trial, even if additional records

existed relating to them, neither Rule 16 nor Brady would provide a basis for their production. See

United States v. Armstrong, 517 U.S. 456, 462 (1996) (finding information is only material to the

defense under Rule 16 if it is related to the Defendant’s “response to the Government’s case in

chief”); Brady v. Maryland, 373 U.S. 83 (1963) (defining discoverable material as information

favorable to a defendant that is “material to either guilt or punishment”); United States v. Blackley,

986 F. Supp. 600, 603 (D.D.C. 1997) (finding Brady material is “not material that would only

support jurisdictional challenges, claims of selective prosecution, or any other collateral attacks on

the indictment, because prevailing on those claims would not prove defendant free from fault, guilt

or blame”).

       As another example, the Defendant requests early disclosure of Jencks material. ECF No.

31 at 42 (Request No. 5). The Jencks Act, 18 U.S.C. § 3500, however, only requires the production

of statements of testifying witnesses. The Government has not identified its trial witnesses yet,

but has nevertheless disclosed the grand jury transcripts and interview reports of every witness

questioned in relation to the instant charges. It has also disclosed all communications in its

possession between witnesses it interviewed or who testified in the grand jury and the Defendant.

As trial preparations commence, the Government will update its disclosures to provide any Jencks

material, to the extent it may exist and has not already been provided. See United States v. Sutton,

Case No. 21-cr-0598-PLF, 2022 WL 1202741, at *9 (D.D.C. Apr. 22, 2022), on reconsideration

in part, Case No. 21-cr-0598-1-PLF, 2022 WL 2828995 (D.D.C. July 20, 2022) (Rule 16 of the

Federal Rules of Criminal Procedure expressly “does not authorize the discovery or inspection of

statements made by prospective government witnesses except as provided by the Jencks Act, 18




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U.S.C. § 3500. . . . To compel the disclosure of witness statements before trial – a defendant must

demonstrate that (1) portions of those statements contain the substance of any relevant written or

oral statements made by the defendant that are disclosable under Rule 16(a)(1)(A) or (B); or (2)

they are exculpatory or favorable, so-called Brady material.” (internal quotations omitted)).

       Finally, the Defendant seeks several categories of records that, to the extent they may exist,

relate only to internal Department deliberations, see, e.g., ECF No. 31 at 39 (Request No. 2(f)

(requesting records relating to how Office of Legal Counsel opinions might apply to the

Defendant)), or do not contain any evidence relating to the issues to be decided at trial, see, e.g.,

id. at 38 (Request No. 2(a) (requesting the Government be required to produce copies of requests

for information it may have issued and to which it received information it later produced in

discovery); id. at 40 (Request No. 3 (requesting all interview reports relating to investigations of

individuals that have no known involvement in the Defendant’s contempt)). With respect to the

former, Rule 16(a)(1)(E), however, “does not authorize the discovery or inspection of reports,

memoranda, or other internal government documents made by an attorney for the government or

other government agent in connection with investigating or prosecuting the case.” Fed. R. Crim.

P. 16(a)(2). Nor does Brady. See United States v. Naegele, 468 F. Supp. 2d 150, 155 (D.D.C.

2007) (“To the extent that defendant seeks documents or records reflecting the internal

deliberations of the Department of Justice leading to the decision to seek an indictment, he is not

entitled to them under Brady, even if some prosecutor ‘expressed doubts’ that defendant’s conduct

‘amounts to a crime or warrants prosecution.’”). And with respect to the latter category, as

described above, supra at 5, the universe of discoverable material is that related to the Defendant’s

guilt or innocent at trial. There is nothing more, therefore, to order the Government to provide on

these or similarly non-discoverable or irrelevant matters.




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       Having provided all the discoverable information in its possession to date, the Defendant’s

various requests under Rule 16, Brady and its progeny, and the Jencks Act are moot. The

Government understands it discovery obligations, takes them seriously, and will continue to

comply with those obligations as soon as possible should the Government become aware of any

additional discoverable information.

III.   The Committee, the White House, the Justice Department’s Civil Division, and the
       National Archives and Records Administration are Not Part of the Prosecution Team
       under Federal Rule of Criminal Procedure 16 or Brady and its Progeny.

       Despite the Government’s full discovery, the Defendant claims that the Government’s

discovery obligations are not satisfied until it has searched the records of the Committee, the White

House, the Justice Department’s Civil Division, and the National Archives and Records

Administration (“NARA”) for discoverable material. ECF No. 31 at 18-20; see also, e.g., id. at

38-39 (Request Nos. 2(d), 2(e), 6(d) and 6(g)). The Government’s obligations under Federal Rule

of Criminal Procedure 16 and Brady only extend, however, to those agencies that are “closely

aligned with the prosecution.” United States v. Libby, 429 F. Supp. 2d 1, 5-6 (D.D.C. 2006)

(finding this standard applicable to the government’s obligations under Fed. R. Crim. P.

16(a)(1)(E)) (quoting United States v. Brooks, 966 F.2d 1500, 1503 (D.C. Cir. 1993) (holding the

standard applied to the government’s Brady obligations)). They do not extend to material

“possessed by agencies which had no part in the criminal investigation or when the prosecution

had no control over the agency officials who physically possessed the documents.” Id. at 6; see

also Brooks, 966 F.2d at 1503 (holding that the D.C. Metropolitan Police Department was “closely

aligned” with the prosecution for purposes of triggering the government’s obligations to search its

files where it had a “close working relationship” with the prosecutor’s office and that relationship

was “obviously at work in this prosecution”). Moreover, “it is settled that the government




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generally need not produce documents that are in the possession, custody, or control of a separate

branch of government such as Congress.” Libby, 429 F. Supp 2d at 7 (internal citations omitted);

see also United States v. Safavian, 233 F.R.D. 12, 14 (2005) (“[The government] does not,

however, include a committee of the United States Senate (or the House of Representatives)

because the Congress is a separate branch of the government and was not intended by the Rules

writers to be included within Rule 16.”); Mar. 16, 2022, Hearing Transcript, Bannon, at 95 (finding

the prosecution team in a contempt of Congress case did not include the Committee or the entirety

of the government).

       Here, the Committee is part of a separate branch of government and neither the White

House, the Civil Division, nor NARA has any ongoing close working relationship with the U.S.

Attorney’s Office or FBI or had any role in the criminal investigation leading to the charges in this

case. Indeed, the Defendant appears to concede the matters in relation to which the Defendant has

been engaged with the Civil Division and NARA are related to an entirely different congressional

committee. ECF No. 31 at 19. The Defendant asserts that the White House, on the other hand, is

part of the prosecution team, because, during its criminal investigation, the Government

interviewed a witness in the White House Counsel’s Office who had direct communications with

the Defendant in relation to the subpoena at issue after it was served and before the Defendant

defaulted on its testimonial demands and obtained a voluntary production of that witness’s

communications with the Defendant. Id. at 18-19. By arguing that this converts the White House

into part of the prosecution team, however, the Defendant appears to be arguing for a standard

under which any government official or entity that is a mere witness in a criminal investigation

automatically enlists their agency as a member of the prosecution team. Such a standard runs

contrary to even the cases on which the Defendant relies to support his claims. In each of the cases




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the Defendant cites, the other executive branch agencies the courts found to be part of the

prosecution team actively participated in collecting evidence during the criminal investigation,

were directly affected by the criminal conduct at issue, provided analysis and review of criminal

allegations, had previously provided open-file access to the prosecuting office, and/or had a

unique, close relationship with the prosecutor’s office. See, e.g., United States v. Santiago, 46

F.3d 885, 893-94 (9th Cir. 1995) (finding Bureau of Prisons inmate files in the possession of the

prosecution team where the prosecution team had previously obtained inmate files in the case,

BOP had collected evidence in the investigation, and BOP and the U.S. Attorney’s Office were

part of the same executive branch agency); United States v. Deutsch, 475 F.2d 55, 57-58 (5th Cir.

1973) (finding personnel file of USPS employee who was target of charged bribery scheme was

in prosecutor’s possession where the two agencies were “so closely connected . . . for the purpose

of this case” and prosecutor appeared to have access to the file); Libby, 429 F. Supp. 2d at 10-11

(finding the Office of the Vice President and the CIA to be “closely aligned” with the prosecution

team for discovery purposes where there had been a free flow of information from the agencies

and it was unlikely an indictment would have been secured without the information). 2 None of

those circumstances are present here.

       Even aside from the fact that the other agencies from which the Defendant seeks records



       2
          In support of his claims, the Defendant also cites the broad standard applied by one court
in this district in United States v. Safavian, in which the court held that the “prosecution team”
includes “any and all agencies and departments of the Executive Branch.” 233 F.R.D. 12, at *2
(D.D.C. 2005). In a later opinion in the same case, the court recognized this standard “extends
beyond agencies ‘closely aligned’ with the prosecution,” see United States v. Safavian, 233 F.R.D.
205, at *2 n.1 (D.D.C. 2006), seeming to run contrary, therefore, to the D.C. Circuit’s holding in
Brooks. Indeed, it does not appear the Safavian standard has been adopted by other courts in this
district and has been questioned by at least one, see Libby, 429 F. Supp. 2d at 6 n.10 (noting that
the standard appeared to go even beyond the Ninth Circuit’s broad standard for discovery in
Santiago and that “[t]his Court need not (nor does it believe it could) adopt such a broad reading
of the applicable caselaw in this Circuit to properly resolve the pending motions”).


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are not closely aligned with the prosecution team in this case, the Defendant seeks only records

that are either irrelevant to the questions to be determined at trial or about the existence of which

he merely speculates. Neither category entitles him to send the Government on a search in another

agency’s records.

       First, as described above, the Defendant is only entitled to information that goes to matters

that will be at issue at trial. See Armstrong, 517 U.S. at 462; Brady v. Maryland, 373 U.S. at 87;

Blackley, 986 F. Supp. at 603. Yet, the Defendant seeks materials from other government agencies

that are untethered from the elements of the offense or available defenses. For example, the

Defendant seeks communications about the Defendant between the White House Counsel’s Office

and former President Donald Trump or the Committee would relate to issues a jury must decide at

trial. See ECF No. 31 at 39 (Request Nos. 2(d) and 2(e)). The question at trial is whether the

Defendant was subpoenaed to provide documents and testimony in relation to the Committee’s

authorized investigation and whether his default was willful. See Final Jury Instr., Bannon, ECF

No. 129 at 27-28 (instruction on elements of contempt of Congress). The Defendant does not

explain how the communications he seeks would go to proving or disproving either. Nor could

he—the White House does not control the authorized scope of the Committee’s investigation, the

subpoena and the Committee’s communications with the Defendant speak for themselves with

respect to the Defendant’s obligations, and communications to which the Defendant was not a

party could not provide any evidence of his intent.

       Second, speculation is not sufficient to force the Government to search in other agency

files for material that may or may not exist and that may or may not be material or favorable under

Rule 16 or Brady. See, e.g., Brooks, 966 F.2d at 1504; United States v. Apodaca, 287 F. Supp. 3d

21, 40 (D.D.C. 2017) (citing United States v. Williams–Davis, 90 F.3d 490, 514 (D.C. Cir. 1996);




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United States v. Sims, 508 F. App’x 452, 460–61 (6th Cir. 2012)). Yet, for example, the Defendant

suggests that, simply because of coincidental timing, there may be some relevance to this case of

records in an entirely unrelated civil suit against the Defendant about a different congressional

committee and his refusal to provide records that belong to NARA. See, e.g., ECF No. 31 at 19;

id. at 38 (Request No. 1).

       Accordingly, even under a broad definition of the “prosecution team,” the records the

Defendant seeks are not sufficiently connected to his trial defense to send the Government on the

speculative, irrelevant search he desires. See Brooks, 966 F.2d at 1503-04 (“Where the file’s link

to the case is less clear, the court must also consider whether there was enough of a prospect of

exculpatory materials to warrant a search. . . . As the burden of the proposed examination rises,

clearly the likelihood of a pay-off must also rise before the government can be put to the effort.”).

His efforts to expand the prosecution team must be rejected.

IV.    The Defendant Has Failed to Demonstrate He is Entitled to Discovery to Support a
       Selective Prosecution Claim.

       The Defendant claims he is entitled to information relating to whether the White House or

the Select Committee exerted improper political influence over the decision to seek an indictment

against the Defendant, ECF No. 31 at 26-30, and whether the Defendant’s prosecution is the result

of selective prosecution, id. at 26-35. The information the Defendant seeks does not go to the

elements of the offense or answering the government’s proof of them at trial and thus is not

discoverable under Rule 16 or Brady. See United States v. Rashed, 234 F.3d 1280, 1285 (D.C.

Cir. 2000) (finding Rule 16 did not entitle the defendant to discovery relating to his double

jeopardy claim because the claim related “not to refutation of the government’s case in chief but

to establishment of an independent constitutional bar to the prosecution”); Blackley, 986 F. Supp.

at 603 (finding Brady material is “not material that would only support jurisdictional challenges,



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claims of selective prosecution, or any other collateral attacks on the indictment”). The only case

the Defendant cites in support of his first claim for discovery, relating to supposed improper

political interference, does not discuss the requirements for criminal discovery at all but instead

addresses only whether a court should enforce an administrative subpoena issued by the Securities

and Exchange Commission. See ECF No. 31 at 26 (citing SEC v. Wheeling-Pittsburg Steel Corp.,

648 F.2d 118 (3d Cir. 1981)). Despite citing no legal authority for the request, however, it appears

it is an extension of his later selective prosecution claim. See, e.g., ECF No. 31 at 29 (claiming he

is “entitled to any communications between the Department of Justice and the Select Committee

that may have influenced the Government’s decision to prosecute the Defendant for contempt of

Congress”). 3

       To be entitled to discovery relating to a selective prosecution claim, the Defendant must

offer “some evidence tending to show the existence of the essential elements of the defense,”

Armstrong, 517 U.S. at 468 (citation omitted), that is, “some evidence of both discriminatory effect

and discriminatory intent,” United States v. Bass, 536 U.S. 862, 863 (2002). The showing the

Defendant must make is a “rigorous” one, Armstrong, 517 U.S. at 468, and “a defendant must

provide something more than mere speculation or ‘personal conclusions based on anecdotal

evidence,’” United States v. Stone, 394 F. Supp. 3d 1, 31 (D.D.C. 2019) (quoting Armstrong, 517

U.S. at 470).     Moreover, if the Defendant fails to show either discriminatory effect or

discriminatory intent, he is not entitled to discovery. See United States v. Blackley, 986 F. Supp.

616, 618 (D.D.C. 1997) (citing Attorney General of U.S. v. Irish People, Inc., 684 F.2d 928, 947



       3
         The Defendant also suggests that he is entitled to contacts between the White House and
Select Committee because the “possibility exists” that the White House exerted “political influence
over [the Committee’s] decisions regarding” the Defendant. ECF No. 31 at 30. The Committee’s
decisions regarding the Defendant, however, can have no relation to any selective prosecution
claim since it is a separate branch of government with no prosecuting authority.


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(D.C. Cir. 1982)). The Defendant has failed to make the requisite showing to be entitled to

discovery for a selective prosecution claim.

       First, the Defendant fails to show discriminatory effect. To show discriminatory effect, the

Defendant must show some evidence “that the Government afforded ‘different treatment’ to

persons ‘similarly situated’ to him.” United States v. Judd, -- F. Supp. 3d --, 2021 WL 6134590,

at *2 (D.D.C. 2021) (quoting Armstrong, 517 U.S. at 470). “A similarly situated offender is one

outside the protected class who has committed roughly the same crime under roughly the same

circumstances but against whom the law has not been enforced.” United States v. Khanu, 664 F.

Supp. 2d 28, 32 (D.D.C. 2009) (quoting United States v. Lewis, 517 F.3d 20, 27 (1st Cir. 2008))

(internal quotation marks omitted).

       The Defendant claims that Mark Meadows and Daniel Scavino, two other individuals who

did not comply with a Select Committee subpoena and were not prosecuted are similarly situated

to him. ECF No. 31 at 32-33. He claims that the discriminatory classification differentiating him

from Meadows and Scavino is the Defendant’s “public expression of political beliefs.” Id at 31.

But the Defendant does not explain or demonstrate how this places him in a protected class of

which Meadows and Scavino are not a part. Based on public reporting and their social media

pages, Meadows and Scavino both appear to also frequently make public statements about their

political beliefs. 4 Having failed to identify any similarly situated individuals that have not

exercised the constitutional right for which the Defendant claims he has been chosen for

prosecution, he cannot meet his burden to show discriminatory effect.

       Moreover, even if the Defendant had shown Meadows and Scavino to be outside the




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 See, e.g., https://twitter.com/markmeadows; https://twitter.com/DanScavino (last accessed Aug.
15, 2022).


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protected class of which the Defendant claims he is a part, he has not shown that they have

committed “roughly the same crime under roughly the same circumstances.” Khanu, 664 F. Supp.

2d at 32. The only similarities the Defendant identifies is the fact that he, Meadows, and Scavino

all defied a Select Committee subpoena and all invoked executive privilege in doing so. The

similarities, however, end there. Meadows, unlike the Defendant, did produce records to the

Committee. And, as is clear from the House reports reciting the facts of Meadows’s and Scavino’s

failures to comply with their subpoenas, 5 the circumstances of their communications with the

Committee and refusals to comply were different in almost every way from the Defendant’s.

Having failed to show discriminatory effect, the Defendant’s request for discovery relating to

selective prosecution can be denied without further analysis.

       In any event, the Defendant also has failed to show the second prong of the test—

discriminatory intent. To do so, he must demonstrate that “the selection was deliberately based

upon an unjustifiable standard such as race, religion, or other arbitrary classification, or was

designed to prevent or paralyze his exercise of constitutional rights.” United States v. Mangieri,

694 F.2d 1270, 1273 (D.C. Cir. 1982) (internal citations and quotation marks omitted); see also

Wayte v. United States, 470 U.S. 598, 610, (1985) (noting that discriminatory purpose “implies

that the decisionmaker . . . selected or reaffirmed a particular course of action at least in part

‘because of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable group” (citations and

internal quotation marks omitted) (alteration in original)). Here, the Defendant claims that




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         See H. Rep. 117-216, Resolution that the House of Representatives find Mark Randall
Meadows           in         Contempt         of        Congress,           available       at
https://www.congress.gov/117/crpt/hrpt216/CRPT-117hrpt216.pdf (last accessed Aug. 15, 2022);
H. Rep. 117-284, Resolution that the House of Representatives find Peter K. Navarro and Daniel
Scavino, Jr. in Contempt of Congress, https://www.congress.gov/117/crpt/hrpt284/CRPT-
117hrpt284.pdf (last accessed Aug. 15, 2022).


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discriminatory purpose is evident in the Committee’s reference in its criminal contempt report to

the Defendant’s public statements that he was not going to comply with the subpoena. ECF No.

31 at 34. But the Committee is not part of the prosecution team—indeed it is not part of the

Executive Branch tasked with enforcing the laws. It certainly has no role in the Department of

Justice’s prosecutorial decisionmaking. It is the prosecuting authority that the Defendant must

show acted with discriminatory purpose. The Committee’s report can provide no evidence of the

prosecutors’ intent. See Stone, 394 F. Supp. 3d at 36 (“If one seeks permission to embark on

discovery related to selective prosecution, it is not enough to simply state that the prosecutor was

biased. Defendant must show that in his case, the decisionmaker acted with a discriminatory

purpose.” (emphasis in original)).

        The Defendant also appears to claim that there is some evidence of discriminatory intent

because, 1) according to the Defendant, this prosecution departs from Office of Legal Counsel

opinions, id. at 26; 2) months before the Defendant was served with the subpoena, President Biden

made statements that individuals who unlawfully defy congressional subpoenas should be

prosecuted, ECF No. 31 at 26; 3) the Defendant was not allowed to self-surrender after being

indicted, id. at 28; 4)

                                  , id.; and 5) the White House Counsel’s Office informed the

Defendant before he defaulted on the subpoena’s testimonial demand that President Biden would

not be invoking executive privilege, id. at 29.

        None of these claims carries the weight of meeting the Defendant’s burden to show that

the prosecutors in this case sought an indictment to discriminate against the Defendant because he

exercised his constitutional rights. First, this case does not depart from Office of Legal Counsel

(“OLC”) opinions. There is no OLC opinion holding that former White House staff members can




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invoke executive privilege of their own accord. Nor is there one that holds that, even where a

president invokes executive privilege in response to a congressional subpoena the summonsed

witness can then withhold all responsive records, whether privileged or not. Nor is there an OLC

opinion holding that a former White House staff member to a former President has absolute

testimonial immunity when summonsed by Congress. Indeed, there is not even an OLC opinion

holding that all current White House staff members have such immunity—OLC has only ever

found such immunity to apply to a limited group of immediate advisers based on a fact-intensive

review of those advisers’ roles. See, e.g., See Congressional Oversight of the White House, 45 Op.

O.L.C. __, at *55 (Jan. 8, 2021) (“[I]n determining whether a person qualifies for this immunity,

we have considered the day-to-day responsibilities of the adviser and the extent of his or her regular

interaction with the President. . . . most members of the White House staff do not qualify for

immunity from compelled testimony.”).

       Second, the Defendant’s continuing claims about his arrest are based on a

misrepresentation of the facts and his posture toward the Government at the time of his arrest. He

claims that it was unprecedented and unusual that he was not permitted to self-report. ECF No.

31 at 28. Contrary to the Defendant’s claims, however, it is not law enforcement’s normal practice

to ask combative, unrepresented subjects to self-surrender. At the time he was indicted and

arrested, the Defendant was not represented. And only a few days before, when the case agents

attempted to interview him and serve him with a subpoena at his residence, the Defendant at first

refused to open the door and then, when he did, told the agents to “get the f*** out of here.” 6 The

Defendant also has an extensive history of seeking out news coverage. To avoid a media circus,




       6
        This interaction was recorded and produced in discovery to the Defendant on June 14,
2022. The Government can provide it to the Court if needed.


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therefore, the arresting agents encountered the Defendant in a discrete location on the jet-bridge at

the airport, removed him to the tarmac, and took him to be booked from there—all out of sight of

the public. Moreover, the “strip search” and “leg irons” of which the Defendant repeatedly

complains is, to the Government’s understanding, the U.S. Marshal’s standard procedure for all

arrestees—whether they self-surrender or not. The Defendant seeks to have this Court attribute

discriminatory intent to an arrest operation aimed at safely and efficiently handling an

unrepresented, unpredictable subject without a media frenzy. His claims are meritless.

       Finally, the Defendant’s remaining claims relate to two events that occurred even before

the crime had been committed, ECF No. 31 at 26, 29,




                       Nevertheless, the Defendant asserts that these events and testimony reflect

some improper pressure being applied by the Committee or the White House to the career

prosecutors in this case, forcing them to make improper discriminatory decisions. But his claims

are based on pure speculation. And the prosecution team is unaware of any such pressure

campaigns. Being unaware, any additional communications between the Department of Justice

and/or the White House and/or the Select Committee, to the extent they even exist, could not have

influenced the Government’s decision to prosecute the Defendant. 7 The Defendant’s speculation




       7
         In his motion, the Defendant accuses the Government of shielding from him the existence
of any communications between the Department of Justice, including the Office of Legal Counsel,
and the Select Committee and/or the White House. ECF No. 31 at 27. This is not true. On July
27, 2022, prior to the Defendant’s motion, the Government informed counsel that, “[w]e do not
have any correspondence between the White House, the Select Committee, and the Department of



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that it is otherwise cannot meet his burden. See Stone, 394 F. Supp. 3d at 11 (“There is no

precedent that would authorize the dismissal of an indictment based on pure conjecture.”).

        Having provided no evidence of discriminatory intent on the part of the actual prosecutorial

decisionmakers, the Defendant has failed to make the requisite showing for discovery relating to

a selective prosecution claim.


V.      The Defendant is Not Entitled to Discovery of Additional Grand Jury Material.

        The Defendant seeks copies of




                                                                     To justify these requests, the

Defendant claims a “ground may exist to dismiss the indictment because of a matter that occurred

before the Grand Jury.” Id. at 35. Specifically, the Defendant suggests that the Government did

not present to the grand jury what he claims to be exculpatory material relating to the Committee’s

composition, id. at 36, did not present supposedly exculpatory evidence of the Defendant’s only

now purported reliance on OLC opinions, id. at 36-37, and improperly instructed the grand jury

on the law, id. at 37.

        The Defendant’s requests must be denied, because he has failed to meet his burden to show

a particularized need. “Federal Rule of Criminal Procedure 6(e) ‘makes quite clear that disclosure

of matters occurring before the grand jury is the exception and not the rule.’” McKeever v. Barr,

920 F.3d 842, 844 (D.C. Cir. 2019) (citation omitted). Accordingly, to pierce the secrecy of grand




Justice that is responsive to your request and we are not aware of any.” See ECF No. 31-7 at 1
(emphasis added).



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jury proceedings, the Defendant must demonstrate a particularized need for the material. United

States v. Saffarinia, 424 F. Supp. 3d 46, 81 (D.D.C. 2020); Apodaca, 287 F. Supp. 3d at 47; United

States v. Wilkerson, 656 F. Supp. 2d 22, 34 (D.D.C. 2009) (“Fed. R. Crim. P. 6(e)(3)(E)(i) allows

district courts to authorize disclosure of grand jury matters “in connection with a judicial

proceeding” if the party requesting disclosure demonstrates a “particularized need” or “compelling

necessity” for the testimony.”). “[D]isclosure is appropriate only in those cases where the need

for it outweighs the public interest in secrecy, and . . . the burden of demonstrating this balance

rests upon the private party seeking disclosure.” United States v. Borda, 905 F. Supp. 2d 201, 204

(D.D.C. 2012) (internal citation omitted). The Defendant does not meet his burden here.

       To show that a ground may exist for dismissing the indictment because of an issue relating

to the grand jury, the Defendant must meet a high bar. “Grand jury proceedings are ‘accorded a

presumption of regularity, which generally may be dispelled only upon particularized proof of

irregularities in the grand jury process.’” Borda, 905 F. Supp. 2d at 204 (quoting United States v.

Mechanik, 475 U.S. 66, 75 (1986) (O’Connor, J., concurring)). “An indictment valid on its face

may not be challenged on the ground that the grand jury acted on the basis of inadequate, unreliable

or incompetent evidence.” Id. (citing Bank of Nova Scotia v. United States, 487 U.S. 250, 261

(1988)). The standard for dismissing an indictment for an error in the grand jury “is so high that

dismissal of an otherwise valid indictment is inappropriate even where the government failed to

disclose substantial exculpatory evidence it possessed at the time of the grand jury.” Id. (internal

citation omitted). Accordingly, “conclusory or speculative allegations of misconduct do not meet

the particularized need standard; a factual basis is required.” Naegele, 474 F. Supp. 2d at 10.

       The Defendant does not explain how issued grand jury subpoenas, judicial orders to testify,

and testimony that may have been provided in other matters could shed any light on the




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Defendant’s claims of purported error. Having failed to establish that the requested information

would do anything to advance his planned claims for dismissal based on evidence not presented to

the grand jury or the Government’s instructions to the grand jury, the Defendant has failed to make

the factual showing necessary to meet the particularized need standard. In any event, the

Government has already provided the Defendant all records obtained in response to grand jury

subpoenas and all witness testimony and exhibits presented to the grand jury in this matter. He

has all he needs to be able to make claims about what supposedly exculpatory evidence was and

was not presented to the grand jury.

       Moreover, the Defendant has failed to make any factual showing of error in the first place.

His assertion that the jury was not properly instructed is nothing but speculative. The indictment

properly alleges the elements of the offense—which the Defendant does not appear to dispute—

and he provides no reason to believe the grand jury was instructed on the law in any way contrary

to those allegations. This is fatal to the Defendant’s claim of particularized need for any grand

jury materials in relation to claims about the grand jury charge. See Saffarinia, 424 F. Supp. 3d at

81 (denying request for grand jury minutes where defendant’s claim that grand jury was

improperly instructed on the law was speculative and indictment sufficiently alleged essential

elements); United States v. North, 708 F. Supp. 370, 371-72 (D.D.C. 1988) (“[T]here is no

requirement that the grand jury be instructed on every aspect of the law. . . . Never have prosecutors

had to present all possible legal defenses to a grand jury.”).

       In addition, the “exculpatory” evidence the Defendant claims was withheld from the grand

jury is not, in fact, exculpatory. As described above, the Defendant’s claims relating to the

composition of the Committee have been waived as a defense, supra at 3-4, and the Defendant’s

post-indictment claim that he relied on OLC opinions—notably, he identifies none that he believes




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should have been presented to the grand jury—cannot provide a defense because the contempt of

Congress statute does not require that the Defendant have acted in bad faith or with knowledge

that his conduct was unlawful, see Fields v. United States, 164 F.2d 97, 100 (D.C. Cir. 1947)

(affirming jury instruction on “willful” in contempt of Congress statute); Order, Bannon, ECF No.

49 (granting Government’s motion to exclude good-faith reliance defenses in contempt of

Congress case); July 11, 2022, Hearing Transcript, id., at 117 (noting that arguments that defendant

thought he was legally excused from compliance with congressional subpoena “would not go to

any aspect of willfully, as the Court of Appeals has defined it”). In any event, even if the

information were truly exculpatory—and it is the Government’s practice to present true, materially

exculpatory information to the grand jury—the law does not require the Government to present

exculpatory evidence to the grand jury. United States v. Williams, 504 U.S. 36, 52-53 (1992). 8

VI.    Conclusion

       The Government has met and exceeded its discovery obligations, and the Government will

continue to comply with its obligations as required. The Defendant has failed to demonstrate that

he is entitled to anything more and his motion to compel should be denied.




       8
          The Defendant relies repeatedly on Justice Manual provisions to support his argument
that failure to present exculpatory information is error justifying disclosure of grand jury material.
ECF No. 31 at 36. But as he also concedes, the Justice Manual’s requirements of presenting
exculpatory information to the grand jury are not reflected in controlling law. Id. Moreover, while
the Government takes it obligations under the Justice Manual seriously, it does not create any
rights for the Defendant in this case. See United States v. Blackley, 167 F.3d 543, 549 (D.C. Cir.
1999) (“[V]iolations of Manual policies by DOJ attorneys or other federal prosecutors afford a
defendant no enforceable rights.”); United States v. Kember, 648 F.2d 1354, 1370 (D.C. Cir. 1980)
(“[W]e do not believe the general guidelines established by the Manual are judicially
enforceable.”); Justice Manual § 1-1.200, available at https://www.justice.gov/jm/jm-1-1000-
introduction#1-1.200 (last accessed Aug. 18, 2022) (stating the Manual “is not intended to, does
not, and may not be relied upon to create any rights, substantive or procedural, enforceable at law
by any party in any matter civil or criminal.”).



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                            Respectfully submitted,

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